

People v Aleman (2021 NY Slip Op 02502)





People v Aleman


2021 NY Slip Op 02502


Decided on April 27, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 27, 2021

Before: Gische, J.P., Kern, Mazzarelli, Kennedy, JJ. 


Ind No. 2331/16 Appeal No. 13666 Case No. 2019-796 

[*1]The People of the State of New York, Respondent,
vLuis Aleman, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Teighlor S. Bonner of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Felicia A. Yancey of counsel), for respondent.



Judgment, Supreme Court, Bronx County (William I. Mogulescu, J.), rendered June 27, 2018, convicting defendant of rape in the third degree, and sentencing him to a term of one to three years, unanimously modified, on the law, to the extent of vacating the supplemental sex offender fee and reducing the mandatory surcharge from $300 to $250 and the crime victim assistance fee from $25 to $20, and otherwise affirmed.
As the People concede, since the crime was committed prior to the effective date of the legislation (Penal Law § 60.35 [1] [b]) providing for the imposition of a supplemental sex offender fee, that fee should not have been imposed. As the People also concede, since defendant committed the crime before the effective dates of legislation increasing the mandatory surcharge and crime victim assistance fees,
defendant's sentence must be modified accordingly (see  Penal Law § 60.35 [l][a] [effective November 11, 2003 to June 30, 2008]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 27, 2021








